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     P.O. Box 17933
 6   San Diego, CA 92177-0933
     Telephone: (858) 750-7600
 7   Facsimile: (619) 590-1385
 8   Attorneys for JPMORGAN CHASE BANK, N.A.
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10                               UNITED STATES BANKRUPTCY COURT
11                   EASTERN DISTRICT OF WASHINGTON (SPOKANE/YAKIMA)
12    In re                                                 Case No. 20-01798-FPC7
13    RTK PRODUCERS, INC.,                                  Chapter 7
14                     Debtor(s).                           NOTICE OF MOTION FOR RELIEF
                                                            FROM THE AUTOMATIC STAY
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     TO:             RTK PRODUCERS, INC., the Debtor;
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     AND TO:         DAVID A KAZEMBA, his attorney of record;
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     AND TO:         MATTHEW J ANDERTON, Chapter 7 Trustee;
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     AND TO:         ALL PARTIES IN INTEREST.
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              You and each of you should hereby take note that JPMorgan Chase Bank, N.A., Movant in
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     the above-captioned matter, has petitioned the court for an order terminating the automatic stay
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     against certain real property of the estate so that JPMorgan Chase Bank, N.A. may enforce its state
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     court foreclosure remedies against said property.
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              The motion relates to the following property in the possession of the bankruptcy estate: 2015
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     Chevrolet Silverado.
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              The collateral has a fair market value of approximately $44,925.00. The encumbrances on the
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     collateral are as follows: $9,186.62.
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 1          Movant further seeks a waiver of the fourteen-day "Stay of Order" provided by
 2 Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure.

 3          Any party objecting to the motion must file a written objection stating the grounds for the
 4 objection. Any objection, to be effective, must be filed with the court not later than 17 days from the

 5 service of this Notice, by sending the same to Ms. Beverly Benka, Clerk of the Court, U.S.
 6 Bankruptcy Court, Eastern District of Washington, P.O. Box 2164, Spokane, Washington 99210, and

 7 to Jesse A.P. Baker of Aldridge Pite, LLP, 4375 Jutland Drive, Suite 200; P.O. Box 17933, San

 8 Diego, CA 92177-0933, as attorney for Movant. The date of service of this Notice is specified below
 9 and in the Proof of Service which accompanies this Notice.

10          All persons should note that their failure to file an objection will result in the court entering
11 an order as stated above.
12 Dated: July 1, 2022                               ALDRIDGE PITE, LLP
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                                                     JESSE A.P. BAKER, WSBA #36077
15                                                   Attorneys for JPMORGAN CHASE BANK, N.A.
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